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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 08-cv-01627-CMA-KMT

  VICTORIA STEINER,

                 Plaintiff,

  v.

  NCO FINANCIAL SYSTEMS, INC., a Pennsylvania corporation,

                 Defendant.


                                  NOTICE OF SETTLEMENT


         COMES NOW the Plaintiff and Defendant by and through their counsel of record

  and for their Notice of Settlement, hereby state as follows:

  1.     The Plaintiff and the Defendant have reached a settlement.

  2.     The parties will be filing a Stipulation of Dismissal with Prejudice with each party to

         pay its own attorney’s fees and costs once the Plaintiff has received the settlement

         funds and the settlement documents have been executed by the parties and

         delivered to all counsel. The parties expect this to happen by November 25, 2008.

  Dated: November 18, 2008.

  Respectfully submitted,

  _s/ David M. Larson_______________                 _s/ Louis Leonard Galvis_____________
  David M. Larson, Esq.                              Louis Leonard Galvis, Esq.
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